Case 1:05-cv-01085-.]DT-STA Document 25 Filed 08/23/05 Page 1 of 2 PagelD 14

United States District Court /
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WESTERN DISTRICT oF TENNESSEE ""O‘ 'v';:'f" ~”»’ 1

Eastern Division_

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CANAL INSURANCE CoMPANY DEFAULT JUDGMENT

V.

N.L. MONTGOMERY AND SON
SAWMILL, INC., et al. CASE NU|VIBERZ 05-1085

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

lT IS ORDERED AND ADJUDGED that in compliance With the order entered in

the above-styled matter on 08/22/05, default judgment is hereby GRANTED as to
defendants l\/like Ri|ey, Jr. and i\/like Ri!ey, Sr.

APPROVED:

  

ITED STATES DISTRICT JUDGE

THoMAS M. GOULD

 

 

CLERK
f _ /1 l'
DATE l / DEPUTY CLERK

This document entered on the docket sheet in compliance

With Rule 58 and/or 79(a) FRCP on 81 !§ th 95 .

 

DISTRICT oURT W

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